Case 1:07-cr-00006-IMK-JSK Document 314 Filed 01/14/10 Page 1 of 6 PageID #: 492
Case 1:07-cr-00006-IMK-JSK Document 314 Filed 01/14/10 Page 2 of 6 PageID #: 493
Case 1:07-cr-00006-IMK-JSK Document 314 Filed 01/14/10 Page 3 of 6 PageID #: 494
Case 1:07-cr-00006-IMK-JSK Document 314 Filed 01/14/10 Page 4 of 6 PageID #: 495
Case 1:07-cr-00006-IMK-JSK Document 314 Filed 01/14/10 Page 5 of 6 PageID #: 496
Case 1:07-cr-00006-IMK-JSK Document 314 Filed 01/14/10 Page 6 of 6 PageID #: 497
